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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

DAWN A. CADDELL and LOUIS         §
DELAROSA,                         §
         Plaintiffs,              §
                                  §                   CIVIL ACTION NO. _________________
v.                                §
                                  §
OAKLEY TRUCKING, INC. and JILLETA §
BAXTER, AS AN HEIR TO THE ESTATE §
OF JOHN PATRICK BAXTER, Deceased  §
OR AS AN EXECUTRIX,               §
ADMINISTRATOR OR PERSONAL         §
REPRESENTATIVE OF THE ESTATE OF §                  Jury Demand
JOHN PATRICK BAXTER,              §
         Defendants.              §

                                   NOTICE OF REMOVAL

       Defendants OAKLEY TRUCKING, INC. and JILLETA BAXTER, AS EXECUTRIX

TO THE ESTATE OF JOHN PATRICK BAXTER, (hereinafter “Defendants”) files this Notice

of Removal for the purpose of removing this cause to the United States District Court for the

Northern District of Texas, Fort Worth Division, and states as follows:

                                          I.
                                  STATE COURT ACTION

       This is an action filed on or about October 3, 2014 in the 271st District Court of Wise

County, Texas, being numbered CV-14-10-735 on the docket of the court and being a suit by

Plaintiffs Dawn A. Caddell and Louis DeLaRosa (hereafter “Plaintiffs”) to recover damages,

including exemplary damages.




DEFENDANT’S NOTICE OF REMOVAL                                                    PAGE 1
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                                          II.
                                 FEDERAL JURISDICTION

       Plaintiffs reside in Denton County, Texas for diversity purposes. Plaintiffs claim they

sustained injuries and damages from a motor vehicle accident on or about October 9, 2012. On

this date, Plaintiff Dawn Caddell claims she was sitting alone in her parked vehicle in the Panda

Express Restaurant parking lot in Decatur, Texas while a Semi-truck slammed into her side of

the vehicle which was being operated by John Patrick Baxter, deceased.            Plaintiffs claim

personal injuries and damages related to the incident.

       Defendant Oakley Trucking, Inc. was, at the time of the events giving rise to this action, a

registered company in Arkansas with its principal place of business and state of incorporation in

Arkansas. Defendant Jilleta Baxter, as Executrix to the Estate of John Patrick Baxter, Deceased

is a resident of Oklahoma.

       The amount in controversy is in excess of $75,000, exclusive of interest and costs as

alleged by Plaintiffs in their Original Petition seeking damages in excess of $200,000. There is

therefore complete diversity of citizenship and a sufficient amount in controversy to confer

jurisdiction on this court pursuant to 28 U.S.C. §1332. The above-described civil action is

therefore one that may be removed pursuant to 28 U.S.C. §§1332, 1441 and 1146.

                                      III.
                        STATE COURT DOCUMENTS ATTACHED

       This Notice of Removal has been filed within thirty (30) days after receipt through

service or otherwise, of Plaintiffs’ Original Petition, filed in the 271st District Court of Wise

County, Texas. This suit was originally filed on October 3, 2014. Plaintiffs’ Original Petition

was served on Defendants on October 9, 2014. Removal is therefore timely under 28 U.S.C.

§1446(b).




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        Attached hereto are copies of all pleadings, process and orders received or filed by

Defendant American in this action pursuant to 28 U.S.C. §1446(a).           Also attached are an

Appendix and copies of the state court docket sheet, and a copy of the entire contents of the state

court file.

                                            IV.
                                    RELIEF REQUESTED

        Defendants OAKLEY TRUCKING, INC. and JILLETA BAXTER, AS EXECUTRIX

TO THE ESTATE OF JOHN PATRICK BAXTER respectfully request that Cause No. CV-14-

10-735 DC-14-06687 in the 271st District Court of Wise County, Texas, be removed to the

United States District Court for the Northern District of Texas, Fort Worth Division, and that this

Court accept this Notice of Removal and that it assume jurisdiction of this case and issue such

further orders and processes as may be necessary to bring before it all parties necessary for the

trial hereof.




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                                             Respectfully submitted,

                                             MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.


                                                By: _/s/Mark J. Dyer ________________
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                                             ATTORNEYS FOR DEFENDANTS


                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument has been mailed,
telecopied or hand delivered to all attorneys of record, in compliance with Rule 5 of the FEDERAL
RULES OF CIVIL PROCEDURE, on this the 7th day of November 2014.


                                             _/s/Mark J. Dyer _______________
                                             MARK J. DYER




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